                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         STATESVIILE DIVISION
                          No. 5:21-cv-22-DSC

WESLEY ALLEN NELSON,               )
                                   )
                                   )
                                   )
             Plaintiff,            )
                                   )
       v.                          )
                                   )
KILOLO KIJAKAZI,                   )
                                   )        ORDER OF REMAND
                                   )
                                   )
Acting Commissioner of             )
Social Security               )
                                   )
             Defendant.       )
                              )
______________________________)


       THIS MATTER is before the Court on Plaintiff’s Complaint and

Defendant’s Motion for Remand to the Commissioner for further

administrative proceedings. The Commissioner wishes to conduct

further     fact   finding,   including    holding   a   new   administrative

hearing.

       Plaintiff’s counsel consents to the Government’s Motion for

Remand.

       The Court finds good cause has been alleged for remand and

that    further      administrative       fact   finding       is   warranted.

Accordingly, the Court hereby reverses the Commissioner’s decision



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under sentence four of 42 U.S.C. § 405(g) and remands the case to

the Commissioner for further proceedings, including a new hearing.

See   Shalala   v.   Schaefer,     509     U.S.      292   (1993);   Melkonyan   v.

Sullivan, 501 U.S. 89 (1991).

    The Clerk of Court is directed to enter a separate judgment

pursuant to Rule 58 of the Federal Rules of Civil Procedure.

      SO ORDERED.
                          Signed: October 19, 2021




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